EXHIBIT E
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Arrested Suspects Additional Suspects Unknown Suspects         Victims       Other Persons      Vehicles            Items      Evidence Count       Leoka Count         Related Case #


Bias Crime                                           Arson                                           Damage Value


                                                                                              Incident Details
Unit Number              Clearance Disposition                                                   Cleared by Exception                                             Case Status
                         OPEN INVESTIGATION
Situation Found
H15 THEFT-OTHER
                                                                                             Incident Address
House No.                      Prefix            Street Name
2703                                             PULASKI HWY
Unit No.                City                                         State                                         Zip                 Post
                        EDGEWOOD                                                                                                       POST 14
                                                                                             Administrative Info
Reporting Officer                          Employee Number           Employee Rank                                       Approving Supervisor
BLUBAUGH , JUSTIN                          S644                                                                          WOLF ,DAWN MICHELLE
Attachments



Narrative Information


       The purpose of this Supplement is to document the interview with Patrick Humes.

BLUBAUGH: Today is July 29, 2015. This is in reference to investigation under
report number 201500154261. We’re in the CID Interview Room. And inside of the
room is Mr. Patrick Humes. Could you state your full name, your birthdate and
your address for me?
HUMES: Uh, Patrick V. Humes, uh, 3-25-55, uh, address is 2916 Smithson
Drive, uh, Forest Hill, Maryland 21050.
BLUBAUGH: And I’m Corporeal… go ahead.
HUMES: And I reside, though, at the, at the present time, in, uh, Railroad,
Pennsylvania.
BLUBAUGH: Okay, can you give that full address for me?
HUMES: That’s, uh, P.O. Box 137, uh, 34 East Main Street, Railroad,
Pennsylvania, 17355.
BLUBAUGH: Okay, and the Smithson Drive address, who reside… I mean what
address…
HUMES: My brother; I used to live there with my brother. Uh, we took care of
my mother. She passed away in December.
BLUBAUGH: Okay.
HUMES: And I sort of moved out. I just couldn’t handle being there without
my mom.
BLUBAUGH: Okay. Well, the purpose of this, um, interview, is just to, I just
want to try to start from the beginning, find out what all happened. But I need
to let you know that you’re not under arrest and you’re free to leave at any
time. Do you understand that?
HUMES:    Um hm. Yes sir.
BLUBAUGH: And you’re here on your own free will.
HUMES:    Yes I am.
BLUBAUGH: Okay. I appreciate you coming in. Um, now, our first contact that we
had with you is back in June from Bel Air, whenever, uh, one of our detectives
interviewed you back then.
HUMES:    Yes.
BLUBAUGH: Alright. And he indicated that, um, or during that interview, you
indicated something about you ended up having an addiction.
HUMES:    Yes.

                                                                                    DEF. DOC. NO. 000010
BLUBAUGH: And you’re supporting your addiction.
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HUMES:    Yeah.
BLUBAUGH: So, take me back; what happened in the beginning to get you, um… did
you start with pills?
HUMES:    Correct.
BLUBAUGH: Or did you have an injury?
HUMES: I, I had a, uh, Workman’s Compensation case where, uh, I had fallen
and, uh, uh, tore up my knee but, uh, during my knee being tore up I also fell
into a wall cause my knee separated.
BLUBAUGH: Um hm.
HUMES: As I was going down a set of steps which injured my neck which, uh, I
went through a lot of stages of, of nerve demolitions and, and blocks and stuff
like that and ended up in a pain management situation.
BLUBAUGH: Mm.
HUMES:    Where I was given pain pills and…
BLUBAUGH: How long ago did this start?
HUMES:    Uh, the accident was actually February of, uh, 12, 2012.
BLUBAUGH: Okay. And where were you working at the time?
HUMES:    Uh, Accord Restoration. They’re down in Owings Mills.
BLUBAUGH: Alright, so you were going through pain management with them?
HUMES:    Correct.
BLUBAUGH: And do you remember what company you were going through with pain
management; or what doctor’s office?
HUMES:    Uh, it was, uh, Maryland Specialty I think they called it.
BLUBAUGH: Okay.
HUMES:    Dr. Saeed was the, uh, neurologist.
BLUBAUGH: Are you currently employed with them now or are you unemployed?
HUMES:    I’m, uh, disability now.
BLUBAUGH: Just disability?
HUMES:    Correct.
BLUBAUGH: And, so with Pain Management, what happened with them?
HUMES: Well, I, uh, like I said, it went on and on and on, uh, Workman’s
Compensation has been the surprise to me. But anyway, uh, I basically, uh,
didn’t want to have any more of the nerve blocks and stuff because they weren’t
helping at all. And so, uh, at that point, I basically, uh, was cut off, uh,
with the meds because I could go on to the pain management.
BLUBAUGH: Um hm.
HUMES: Because, to no avail and I wouldn’t have them sticking no more
needles in my head.
BLUBAUGH: And when was this?
HUMES:    Oh gosh…
BLUBAUGH: Does that mean within the last year or so, last…?
HUMES:    Yeah, within the last year. It’s, it’s been a few months.
BLUBAUGH: Okay.
HUMES: I mean, time goes so fast and my memory’s not real well. But, uh,
it’s, it’s been, uh, probably eight months to a year that I stopped.
BLUBAUGH: So you’re looking like July, October time frame last year?
HUMES:    Last year; yeah.
BLUBAUGH: Okay. So what happened whenever you stopped with the…
HUMES: So, uh, basically, uh, you know, it’s my fault. I took too many

                                   DEF. DOC. NO. 000011
pills.
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BLUBAUGH: Um hm.
HUMES: Basically, you build a tolerance so before you know it you’re taking
instead of six you’re taking eight and then ten and then a handful at a time
just to get rid of the pain.
BLUBAUGH: Um hm.
HUMES: And, of course, like a dummy I ask, uh, somebody else, you know,
because the pills on the street are expensive.
BLUBAUGH: Um hm.
HUMES: And, uh, they said, well, basically you’re taking heroin, it’s an
opiate, you know…
BLUBAUGH: This just a friend of yours that told you this?
HUMES:    My nephew.
BLUBAUGH: Your nephew?
HUMES:    Well, he’s married to my niece, so by marriage.
BLUBAUGH: Okay. What was his name?
HUMES:    Uh, Bryan.
BLUBAUGH: Bryan?
HUMES: Uh, let’s see; here’s my brain. Um, um, gosh I know it; I’m sitting
here and I know it. Uh, there’s a trucking company; they have orange trucks.
Uh… isn’t that awful?
BLUBAUGH: Does it begin with…?
HUMES:    S.
BLUBAUGH: S?
HUMES:    Yeah. Bryan…, oh…
BLUBAUGH: Is it Schneider?
HUMES:    Thank you. Bryan Schneider. Yes.
BLUBAUGH: Okay.
HUMES:    Yeah, that’s the trucking firm.
BLUBAUGH: And he’s basically your nephew through marriage.
HUMES:    Correct. He’s married to my niece.
BLUBAUGH: And so, you were just happening to have a conversation with him at
one time.
HUMES:    Yeah, I mean. I knew what he was doing.
BLUBAUGH: Um hm.
HUMES:    Uh, and, uh…
BLUBAUGH: And what is that? I mean…
HUMES:    That he was, uh, using, uh, pills also.
BLUBAUGH: Um hm.
HUMES:    Um, but he had already graduated to, uh, heroin.
BLUBAUGH: Okay.
HUMES: And he’s the one that, you know, told me, you know, the pills are
expensive; you ought to try heroin and basically that’s what happened. I
started, uh, by snorting heroin and, uh, then all of a sudden it was…
BLUBAUGH: So did he introduce you to heroin?
HUMES:    Yeah; um hm.
BLUBAUGH: Did… so you were with him the first time you bought heroin?
HUMES:    Yes; um hm.
BLUBAUGH: And where did you buy it?
HUMES:    Uh, we would go to Baltimore, uh…

                                   DEF. DOC. NO. 000012
BLUBAUGH: Any, any particular area in Baltimore?
HUMES: Um, there’s been multiple places, uh, there’s not one particular
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HUMES: Um, there’s been multiple places, uh, there’s not one particular
place. Uh, basically, uh, down off of like Route 40, uh, Moravia Road.
BLUBAUGH: Okay.
HUMES:    And you go back into Baltimore from there.
BLUBAUGH: Did you have a specific person that he would call or he would just go
look for somebody?
HUMES: Uh, there was people that who he had called, you know, that he, you
know, he had in touch with, but, uh, most of the time it was a hit or miss.
BLUBAUGH: Um hm.
HUMES:    We just went down there and…
BLUBAUGH: So, whenever you, whenever you got heroin were you by yourself, ever
by yourself or were you always with Bryan?
HUMES:    Uh, 90% with Bryan.
BLUBAUGH: Um hm.
HUMES:    I, I went down by myself, uh, uh, a few times.
BLUBAUGH: So when did you first start using heroin?
HUMES: Uh, it’s been longer than I thought. It’s probably been, uh, uh,
probably a year.
BLUBAUGH: About a year since…
HUMES:    Yeah, probably.
BLUBAUGH: The word… back in July last year, how did you get your money to pay
for heroin?
HUMES:    Well, it started, I could, you know, use my funds.
BLUBAUGH: Um hm.
HUMES: And then it got to a point to where I, uh, Workman’s Compensation cut
me off, uh, from payments.
BLUBAUGH: Um hm.
HUMES: And I didn’t have an income. And, uh, so, uh, I was introduced to,
you know, going and stealing stuff and…
BLUBAUGH: Okay. Would you remember about the time frame on that when you
started?
HUMES: I mean it was probably in that July, you know, July, August,
September, somewhere in there.
BLUBAUGH: Okay.
HUMES:    That it started.
BLUBAUGH: Cause I see your, your pawn history doesn’t really start until, uh,
January I believe.
HUMES:    Well, it wasn’t me who was doing the pawning.
BLUBAUGH: He was… Bryan was?
HUMES: Right. And, uh, when he got in trouble, uh, you know, he asked me to
do it, you know. And I said, I don’t know; I’m not familiar with it. You know?
BLUBAUGH: Well starting back in, when this first happened, were you guys going
in the stores, were you going into houses, cars, what…?
HUMES:    No, it was always stores.
BLUBAUGH: Stores?
HUMES:    Yeah.
BLUBAUGH: So you never…
HUMES:    Never did any home invasions or anything like that.
BLUBAUGH: I’m not even saying home invasions. I’m saying somebody’s not home…

                                   DEF. DOC. NO. 000013
HUMES:    No.
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BLUBAUGH: Or someone’s cars unlocked or…
HUMES: No, no; I’ve never done anything like that. No, I’ve always… it’s
been the store when I’ve been with Bryan.
BLUBAUGH: And what store… how did you start out? I mean, did he go in
initially?
HUMES: Correct. Yeah, he, he would go in initially, like I said, until he
got caught one time and, uh, I believe he, he had went to court and, uh, and
they, uh, I don’t know why, I guess… oh I know what it was, he, he got caught
down in, uh, Towson.
BLUBAUGH: Um hm.
HUMES: And, of course, Home Depot had him sign a, a paper saying that he
couldn’t go…
BLUBAUGH: Oh, so he got caught in the Home Depot.
HUMES:    Correct.
BLUBAUGH: And that was this year?
HUMES:    Yes.
BLUBAUGH: Okay. So it was more recent. It wasn’t last year like when you first
started. Like you guys were able to do this for some time before hand.
HUMES:    Before he got caught; yeah.
BLUBAUGH: Right; okay.
HUMES:    Yeah.
BLUBAUGH: And… cause I see there was a little, a drop between, I think it was
January and May time frame, er uh, February and May. It seemed like there was
like two or three months were there wasn’t any pawn.
HUMES:    Cause I quit and, uh, I went into a rehab center.
BLUBAUGH: Um hm.
HUMES:    Uh, I went to, uh, Mountain Manor.
BLUBAUGH: Okay.
HUMES:    And, uh, spent about 30 days there and got cleaned up and… but…
BLUBAUGH: What stores did you typically… would steal from?
HUMES:    Um, mostly it was, uh, what’s that, Edgewater… is that, no…
BLUBAUGH: Edgewood?
HUMES:    Edgewood.
BLUBAUGH: You talking Harford County?
HUMES:    Correct; Edgewood and then BelAir.
BLUBAUGH: But it was Home Depot? That’s what I’m…
HUMES:    Correct.
BLUBAUGH: It was Home Depot was the primary store?
HUMES:    Correct; yeah, yeah.
BLUBAUGH: What about Lowe’s?
HUMES: Yeah, there was an occasion where we went to Lowe’s a few times. I
never, uh, went in the Lowe’s to take anything. Uh, Bryan did that.
BLUBAUGH: And what about Walmart?
HUMES:    We did… yeah… there at the end; we’d go to Walmart and then return.
BLUBAUGH: So you would steal from Walmart and then you would return the item?
HUMES:    Return the items to Walmart; yeah.
BLUBAUGH: And then what would you… when you returned it what would they give
you?
HUMES:    Gift cards.

                                   DEF. DOC. NO. 000014
BLUBAUGH: Okay.
HUMES: And then you turn the gift cards into, uh, either pawn shop, uh… at
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HUMES: And then you turn the gift cards into, uh, either pawn shop, uh… at
one time we, uh, there was… there’s a machine up in Pennsylvania where you can,
uh, take gift cards and, uh…
BLUBAUGH: Do you know where that is?
HUMES:    Hanover.
BLUBAUGH: Up in Hanover?
HUMES:    Um hm.
BLUBAUGH: Where would… say if I was to go up there myself to look for this, uh…
HUMES: It’s at Giant, uh, on, uh, I think it’s like 94; if you take 30 out
of like Hampstead and all that…
BLUBAUGH: Um hm.
HUMES: And go straight up, I think it’s right off of whatever 30 turns into
going into Hanover. It’s a coin, you know that coin…
BLUBAUGH: Coin kiosk type thing at the store?
HUMES:    Correct.
BLUBAUGH: Okay.
HUMES: Like around here you have change where you can go put change in it?
Up there they have a, a machine that takes your gift cards and, uh, gives you a
percentage.
BLUBAUGH: How did you find that place?
HUMES:    Uh, Bryan found it on, online.
BLUBAUGH: And how often did you go; cause that’s quite a haul?
HUMES:    We only went there one time.
BLUBAUGH: One time?
HUMES:    Yeah.
BLUBAUGH: And then the other times, the gift cards he had… did you primarily
return stuff to Walmart and get a gift card from there or did you get stuff
from… gift cards from other stores.
HUMES:    No, the only place we got gift cards was Walmart.
BLUBAUGH: Okay. Um, now I’m going to go back and…
HUMES: No, excuse me. I did get one from Home Depot one time. I returned
some things to Home Depot and they gave me a store…
BLUBAUGH: And the, the, er, the gift cards that you got from Home Depot, those
are from items that you stole from Home Depot and returned?
HUMES:    And returned.
BLUBAUGH: Without a receipt?
HUMES:    Without a receipt and got store credit card, you know.
BLUBAUGH: Okay. And then you took that and you sold it to a pawn shop?
HUMES:    Correct.
BLUBAUGH: Okay. Now, who else was involved with this other than Bryan? Was
there anybody else involved in these thefts?
HUMES:    Only me and Bryan. Uh, now Bryan is… he’s slippery is what I say.
BLUBAUGH: Um hm.
HUMES: He knows a lot of people and stuff so there’s a lot of things’ going
on that I didn’t even know about. You know? They told me when I got stopped at
Home Depot, there, there was a van out there that he was talking to or
something and I have no idea.
BLUBAUGH: Um hm.
HUMES:    You know. So, uh, but with me it was, ah, me and Bryan. I only, uh…

                                   DEF. DOC. NO. 000015
BLUBAUGH: Now let me ask you this, you said… I’m gonna back up a second…
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HUMES:    Yeah.
BLUBAUGH: I’m gonna go to the Lowe’s store cause I can tell you, um, Lowe’s,
they have some video that has you going into the store…
HUMES:    I went in one time but I didn’t take anything.
BLUBAUGH: Okay, well let me… let’s back up.
HUMES:    Yeah.
BLUBAUGH: Because, I mean, you’re being honest with me.
HUMES:    Yeah.
BLUBAUGH: So let’s, let’s keep on the right path.
HUMES:    Yeah; let’s.
BLUBAUGH: Okay. I don’t want you to steer off.
HUMES:    Right. I don’t want to either.
BLUBAUGH: Um, we have… there’s video of you going in taking items and then
taking it out to Bryan in the Garden Center and then he would remove the items.
HUMES:    Oh.
BLUBAUGH: In the box.
HUMES:    I did that at Lowe’s?
BLUBAUGH: That’s… we have you on video; yeah.
HUMES:    Okay. I mean…
BLUBAUGH: Yeah.
HUMES:    Cause if I did that, I did that.
BLUBAUGH: You just don’t remember doing it?
HUMES: Correct. I mean, I remember doing that at Home Depot but I don’t
remember doing that at Lowe’s. I only remember going in Lowe’s one time and
feeling like this guy was following me so I just put everything back on the
shelf.
BLUBAUGH: Because there was one time in May that you guys went in there and you
didn’t steal anything cause, um, I believe it was, uh, the end of May, or
actually the middle of May, you went in there, uh, one time and actually I
believe Bryan was there and a police car pulled up front, um, and he turned
around and hurried…
HUMES:    Oh.
BLUBAUGH: I guess you were outside…
HUMES:    Yeah.
BLUBAUGH: In the car…
HUMES:    In the car.
BLUBAUGH: And he was inside and next thing you know
HUMES:    He turns around.
BLUBAUGH: He turns around and comes straight out and there’s a police car and…
HUMES:    That, that…
BLUBAUGH: That spooked you? Do you remember that?
HUMES: Um, I don’t actually, but I remember him saying on occasion that, you
know, there’s a cop that came in so we were leaving; yeah.
BLUBAUGH: So, let me, let me ask you this because most of the items that you
stole from Home Depot was still new in the box.
HUMES:    Correct.
BLUBAUGH: What would you do? Would you just put them in the cart and walk out?
HUMES:    Um, when I started doing… going in, that’s what I did. I’d bag ‘em.
BLUBAUGH: Um hm.

                                   DEF. DOC. NO. 000016
HUMES:    Put ‘em in a Home Depot bag and, uh….
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BLUBAUGH: So it looked like you paid for it?
HUMES: Correct. And then try to go out a door that wasn’t, uh, either
watched or a door that didn’t have the security.
BLUBAUGH: Um hm.
HUMES: Or, uh, you know, any way that I could get through without being
caught.
BLUBAUGH: I was trying to figure out why, like say at Home Depot, I have… I see
that you took items that were brand new in the box.
HUMES:    Um hm.
BLUBAUGH: And Lowe’s, you guys would remove the items from the box.
HUMES: That was… that’s the way Bryan worked. I never took things out of the
box.
BLUBAUGH: So you would just give them to him. You would…
HUMES:    Correct.
BLUBAUGH: He would wait for you.
HUMES:    Correct.
BLUBAUGH: And you guys would just kind of work together.
HUMES:    Yeah, there was… that’s the way we did it for a while; yeah.
BLUBAUGH: And when you go to Home Depot, would you guys communicate with each
other and, you know, so you guys would know what’s going on, was there like a
shopping list; was there something particular you guys were looking for?
HUMES: No, we never had a, a, a list. Now I had a book that I used as a,
like a cover. I would write stuff down…
BLUBAUGH: Um hm.
HUMES:    Make it look like I was a contractor and…
BLUBAUGH: Okay.
HUMES: You know, and, uh, the other gentleman thought I was writing a list
but I really wasn’t. I was writing down, you know, hand tools for truck… you
know, in case somebody.
BLUBAUGH: In case someone stopped and talked to you.
HUMES:    Yeah, it was a cover; yeah.
BLUBAUGH: Cause I noticed, yeah, cause the one time on June 22 nd in BelAir when,
um, you were caught there, they, they have you going inside, writing stuff
down…
HUMES:    Yeah.
BLUBAUGH: Coming out to Bryan so they thought that you would work with Bryan to
figure out what you wanted to take.
HUMES:    No.
BLUBAUGH: But that wasn’t the case.
HUMES:    No.
BLUBAUGH: You guys… you just went out and met with him…
HUMES: I, I, yeah, I don’t know why I went out there. It, uh, I do remember
doing that that day… I think I didn’t want to continue. And, you know, it was
talk… we talked and go back in and you know, let’s do it and get it over with
and you know, that type of thing.
BLUBAUGH: Did you ever steal items from Home Depot or Lowe’s or Walmart by
yourself or were the two of you always together?
HUMES: We were always together. I don’t think I stole… no, let me back up. I
took things from New Freedom by myself.

                                    DEF. DOC. NO. 000017
BLUBAUGH: The one up in Pennsylvania?
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HUMES:    Yeah, I mean Shrewsbury.
BLUBAUGH: Shrewsbury?
HUMES:    Yeah. I mean, I did that and then met Bryan.
BLUBAUGH: And that was back in June, beginning of June when you guys did that
one. Or when you did that one up in Shrewsbury?
HUMES:    Yeah, it was pretty much towards the end there; yeah.
BLUBAUGH: And when you had… where did you take the items from Shrewsbury? Did
you take those down to the pawn shop?
HUMES:    Correct.
BLUBAUGH: Alright. Now, I’m gonna move from this… cause, I mean, you pretty
admit that every… when you went in the Home Depot you pretty much… every… you
would just go in there and steal items. And that was your whole goal was to go
to Home Depot, Lowe’s, Walmart was to steal items to sell so you would have
money to support your habit.
HUMES:    Correct.
BLUBAUGH: Okay. Um, how much did you use a day? How much was your habit? How
much money did you have to have each day?
HUMES:    Uh…
BLUBAUGH: For the two of you.
HUMES: Yeah, okay. Yeah, cause you have to put it together. Uh, we would get
a gram; a whole gram would cost about $120.
BLUBAUGH: Um hm.
HUMES: And that’s usually what we tried to get. Sometimes we didn’t get it;
get that. But that’s what we would shoot for and sometimes more.
BLUBAUGH: Um hm.
HUMES:    You know.
BLUBAUGH: Did you ever move up to injecting or you just snorting?
HUMES:    Yes.
BLUBAUGH: So you…
HUMES: No, I started snorting and then, you know, I was always edged, you
know, you can get better… you can get better…
BLUBAUGH: Right.
HUMES:    So…
BLUBAUGH: More…
HUMES:    Yeah, I was talked into…
BLUBAUGH: Now, so, it’s safe to say, um, all the items, all the tools, and, and
is that primarily what you took from Home Depot and Lowe’s was tools?
HUMES:    Yes.
BLUBAUGH: Like power tools?
HUMES:    Correct.
BLUBAUGH: Is there a particular brand that you preferred over the other or…?
HUMES: No, um, Bryan… we started… it was just, uh, he took a lot of
batteries.
BLUBAUGH: Um hm.
HUMES:    Cause they’re an easy…
BLUBAUGH: Can you clarify batteries…
HUMES:    Battery that…
BLUBAUGH: You talking about rechargeable batteries?
HUMES:    The rechargeable batteries for the tools.

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BLUBAUGH: Okay and does it matter what brand they were for?
HUMES: No, uh, any… you know, all of them cause they’re a high priced item
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HUMES: No, uh, any… you know, all of them cause they’re a high priced item
and, and uh…
BLUBAUGH: Was it that they knew that… did you guys know that the pawn shops
wanted specific things like the batteries? That they would pay more for those
or…?
HUMES: The pawn shops never… I never, uh, conversed with them about needing
or what’s good or what’s bad. I mean when I…
BLUBAUGH: Um hm.
HUMES: I just went in there and took things, uh, so I could get the money,
uh…
BLUBAUGH: Okay.
HUMES: Bryan, uh, seemed like he was, uh, more about the batteries than
anything else. Now I don’t know what he set up, uh, as far as batteries
concerned but he, he did a lot of batteries. And, I mean, he told me that up
front that that’s basically what he, he took a lot of. I mean, even before we
started…
BLUBAUGH: Now looking at your history and looking at Bryan’s history, it looks
like, when it came to the tools, that you, um, pawned more of the tools than
Bryan did. Was there a…
HUMES: Right. What happened was, like I said, when he got caught, then we
went to, uh, the other pawn shops that took my information. Now the pawn shop
that he went to didn’t take the information.
BLUBAUGH: Um hm.
HUMES:    So, mine showed up.
BLUBAUGH: What do you mean?
HUMES:    Take, take your ID and wrote it all down and everything.
BLUBAUGH: And do you remember what pawn shop that was that would not, that
didn’t take his information?
HUMES: Um, they called them the Russians. I can’t remember the name of the
actual establishment.
BLUBAUGH: Okay, but it’s down on 40?
HUMES:    Correct.
BLUBAUGH: Okay.
HUMES:    Um, was it Chesapeake or…
BLUBAUGH: Okay.
HUMES:    Yeah; it might be Chesapeake.
BLUBAUGH: So, they would take items and they wouldn’t come up? I mean, or they
wouldn’t take his ID or…
HUMES: Yeah, I mean he would walk in and walk out and he mentioned to me
that they didn’t take it. I mean, I didn’t go in the pawn shop with him so I…
BLUBAUGH: Um hm.
HUMES:    You know I’m sitting here telling you something that I just…
BLUBAUGH: You…
HUMES:    He told me that they didn’t take the information.
BLUBAUGH: How often did he go into this pawn shop?
HUMES: We went in there quite often when he was, uh, doing the stealing and
then, uh, they, they cut him off or something. They told him not to come back
for a while.
BLUBAUGH: Chesapeake did?

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HUMES:    Correct.
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BLUBAUGH: Did they say why they just wanted him…
HUMES:    No. They didn’t say why or Bryan didn’t tell me what they… why.
BLUBAUGH: How many times before they cut him off do you think he went in there?
I mean…
HUMES:    Oh…
BLUBAUGH: Five, ten, twenty times; I mean more than twenty?
HUMES:    More than twenty.
BLUBAUGH: More than twenty times he went in there?
HUMES:    Um hm.
BLUBAUGH: And from what you know they didn’t ask for his ID?
HUMES:    Correct.
BLUBAUGH: Okay.
HUMES: Because when I went in it took, you know, anywhere from fifteen to
forty-five minutes to come out because, you know, we went through the whole
rigmarole.
BLUBAUGH: Um hm.
HUMES: Uh, they, you know, put it down and wrote it up and yah-da, yah-da,
yah-da; and, you know, and I said, yeah, why can you walk in and walk out and
it takes me, you know… I kept saying, you know, he said oh, you can’t get
caught. Don’t worry about it, you know. Ain’t no way you can get caught. And I
said, well, you know, they’re taking my name every time. Oh, don’t worry about
it, you know, but…
BLUBAUGH: Now…
HUMES:    That’s stupid on my part, I…
BLUBAUGH: Was there a particular pawn shop that you preferred to go to over the
other?
HUMES:    Who; me personally?
BLUBAUGH: Yeah.
HUMES:    No, they were the same to me.
BLUBAUGH: Okay.
HUMES: I mean, I didn’t, I didn’t, uh, use Chesapeake. I think I’ve only had
actually one transaction with Chesapeake and that was a, a, a gift card there
towards the end.
BLUBAUGH: Okay. What about, um… Associated? I see… Associated is where you went
the most. It’s up by Harbor Freight.
HUMES:    Yeah; yeah. We went up there.
BLUBAUGH: Do you have anybody in particular that you would, that you would
normally deal with in Associated?
HUMES: Oh, no. Oh, no. I just went and whoever’s at the desk took care of
me.
BLUBAUGH: Did you ever indicate to them that items that you’re selling to them
might be stolen?
HUMES:    No.
BLUBAUGH: Did you have a story that you told them of why you were selling these
items to them or…?
HUMES:    They didn’t ask and I didn’t say, uh…
BLUBAUGH: So they didn’t ask you if they were stolen.
HUMES:    Correct.
BLUBAUGH: Okay.

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HUMES: Correct. Yeah and I didn’t say anything. I mean, I was nervous every
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time I went in there and, uh…
BLUBAUGH: How did you, um, work out a, a price with them? I mean, cause from…
HUMES: They, they look it up on the Internet, I think, and gave me… they
gave me the price. I didn’t, I didn’t…
BLUBAUGH: Did you ever ask for more money than what they were giving you?
HUMES:    No.
BLUBAUGH: Or you just basically… whatever they offered you, you took?
HUMES:    I just basically… whatever, yeah.
BLUBAUGH: Cause you were pretty desperate. You needed whatever money…
HUMES: Correct. I wasn’t about to cause any ripples, you know what I mean? I
didn’t want to be in there to begin with so…
BLUBAUGH: Okay, and, with, um, Starlight; same thing with them.
HUMES:    Yeah.
BLUBAUGH: It’s down across the street on 40.
HUMES:    Nice guys; yeah.
BLUBAUGH: Okay, you dealt with the guys in there?
HUMES:    Yeah.
BLUBAUGH: And, um, do they ever ask you, you know, about the items cause, uh…
to me, I would, I would kind of have some suspicion that you’re constantly
bringing me this new stuff that…
HUMES:    I know.
BLUBAUGH: And you’re only paying maybe a quarter of what it might be worth.
HUMES:    I know.
BLUBAUGH: But they never ask you… you never said anything?
HUMES:    No, no.
BLUBAUGH: You just basically went in…
HUMES:    Um hm.
BLUBAUGH: Um, did they ask you for your ID?
HUMES:    Correct.
BLUBAUGH: Okay, and…
HUMES:    Both Associated and, and Starlight; both.
BLUBAUGH: And they gave you a receipt whenever you were done?
HUMES:    Yeah if I wanted the receipt they would give me a receipt.
BLUBAUGH: But if not, they would just hold onto it?
HUMES:    Or I would throw it away.
BLUBAUGH: Did you ever get the receipts?
HUMES: Uh, yeah. A couple times I took the receipts but I didn’t keep ‘em, I
mean, uh…
BLUBAUGH: Right, you discarded them.
HUMES:    I didn’t need ‘em.
BLUBAUGH: And what car were you driving when you did most of this?
HUMES:    Oh, it was mine; Bryan don’t have a car.
BLUBAUGH: Okay. And what… describe your car.
HUMES:    It’s a, 1998, uh, Blazer; white color.
BLUBAUGH: Do you have Maryland or Pennsylvania tags?
HUMES:    Pennsylvania tags. I don’t know the tag number; that’s about right.
BLUBAUGH: Now there’s one item that you had sold to Associated. It was a chain
saw and…
HUMES:    That was mine.

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BLUBAUGH: It was your chain saw?
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HUMES:    Yeah.
BLUBAUGH: Cause I noticed that wasn’t a new item.
HUMES:    Right.
BLUBAUGH: It was it was an older item.
HUMES:    Yeah.
BLUBAUGH: And you had to…
HUMES:    It was an antique is what they said.
BLUBAUGH: And they… did you have a problem selling it initially to them? I
mean, here you’re selling… you don’t have a problem selling any of the new
stuff but the older stuff.
HUMES: No, no, no, no, no I didn’t. I… whatever they gave; they only gave me
$50 for it or something.
BLUBAUGH: Okay. And did they make you get it running; make sure it was running?
HUMES:    Yeah, yeah.
BLUBAUGH: Or anything like that?
HUMES:    I had to start it for them.
BLUBAUGH: But they didn’t give you any problems.
HUMES:    No.
BLUBAUGH: They never questioned anything that you did?
HUMES:    No.
BLUBAUGH: Or anything that you sold to them.
HUMES:    No.
BLUBAUGH: Okay. Um, after the, um, incident up in BelAir, you said Bryan was
driving your truck; your Blazer, um, cause they went out to look for him after
they stopped you and, you know, apparently he was gone.
HUMES:    Yeah.
BLUBAUGH: How did you get ahold of him afterwards to say, hey, I, I need…
HUMES:    I didn’t. I went and the truck was there.
BLUBAUGH: Oh, it was there then?
HUMES:    Yeah, yeah.
BLUBAUGH: He just… he wasn’t there?
HUMES:    Yeah, because, uh, I believe he also had my telephone and I, I think…
BLUBAUGH: Um hm.
HUMES: I’m not, I’m not sure. No, no, no… I had my phone because they were
looking at my phone.
BLUBAUGH: Okay.
HUMES: So I had my phone. But he didn’t have a phone so I couldn’t get ahold
of him.
BLUBAUGH: And then after this incident did you meet back up with him sometime?
HUMES:    Oh yeah, oh yeah.
BLUBAUGH: And did you guys stop doing it? Did you move on to something else?
HUMES: Well, that’s when we did the, the couple times at Walmart. And then I
told him I can’t do this no more.
BLUBAUGH: Okay.
HUMES: It’s, you know, uh… and after… wait a minute; did we do Walmart
before? When I got caught I was done.
BLUBAUGH: Um hm.
HUMES: You know, uh, but I think, I think we did a couple things after that
but it was like, Bryan, I can’t do it no more.

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BLUBAUGH: Where do you normally meet up with Bryan at?
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HUMES:    His place.
BLUBAUGH: Do you stay with him or do you…
HUMES:    No, no. Costs me a fortune; I drive.
BLUBAUGH: So you would drive down from Railroad Avenue and, or Railroad, PA,
whatever, and get him…
HUMES:    Um hm. Yeah.
BLUBAUGH: And you guys would… so what time, I mean, you would just get up like
a normal job and do this? This was your job?
HUMES: Basically, yeah. You could, you look at it that way. It’s sad to say;
yeah.
BLUBAUGH: I mean…
HUMES:    Basically.
BLUBAUGH: So you would get up in the morning… would you guys just say, hey,
let’s do this tomorrow? Would you guys organize it?
HUMES: He would call me in the morning, you know, what’s up, you know. You
want to do something? You know that type of thing.
BLUBAUGH: And he lives with his parents?
HUMES:    Um hm.
BLUBAUGH: And he’s still living there?
HUMES: Yeah; at this time. He got kicked out for a little while but I think
he’s back.
BLUBAUGH: He’s back?
HUMES:    Yeah.
BLUBAUGH: And where is it? Do you know where he lives?
HUMES:    Um, it’s Mark Street.
BLUBAUGH: Okay.
HUMES:    I don’t know the house number but it’s…
BLUBAUGH: Does he live there with your niece?
HUMES:    No, they’re separated.
BLUBAUGH: They’re separated?
HUMES:    Yeah, yeah.
BLUBAUGH: But he’s…
HUMES: She, uh, you know, this whole drug thing blew up because she was on
‘em too and, and, she went and got clean and he didn’t and they separated and…
they got three kids.
BLUBAUGH: Oh.
HUMES:    And she’s living with… at 2916, where I was living. She’s there.
BLUBAUGH: On Smithson Road?
HUMES:    Correct; and his kids.
BLUBAUGH: Okay. Now, when was the last time you talked to him?
HUMES:    Bryan?
BLUBAUGH: Yeah.
HUMES:    Oh, I talked to him yesterday.
BLUBAUGH: And… I mean, cause you guys are sort of, you know, partners in crime…
HUMES:    I know.
BLUBAUGH: So to speak… so what did you guys talk about yesterday?
HUMES: Well, basically I talked to him about, uh, I found, uh, a place to go
get clean that you don’t need insurance and I basically asked him if he wanted
to go with me, you know, cause he’s always saying he wants to do it. And I was

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like, well I found a place where we don’t need insurance; Mercy will take us
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and, uh, detox us and you don’t need insurance or anything.
BLUBAUGH: So when was the last time you used?
HUMES:    Yesterday.
BLUBAUGH: Yesterday?
HUMES:    Um hm.
BLUBAUGH: And how did you get the money for that?
HUMES:    It came out of my, uh, disabilities check. Course I went through it…
BLUBAUGH: And how often are you using now?
HUMES:    Oh, more like, every two days.
BLUBAUGH: Um hm.
HUMES:    You know whenever I can get some money.
BLUBAUGH: And the money that you get is just from your disability check or you
getting it from other places?
HUMES:    My sister gave me, you know, some and, uh, my family hates me.
BLUBAUGH: Do they know what you’re doing?
HUMES:    Yeah.
BLUBAUGH: What does Bryan’s parent think that you guys are hanging out together
all this time now? I mean, do they realize what you’re doing?
HUMES:    I’m sure. I don’t see his parents.
BLUBAUGH: Okay. You would just pull up to his house, or…? Is that where you…
HUMES:    They’re basically not home.
BLUBAUGH: Okay.
HUMES: His parents… uh, his dad works, uh, and his mom, I think, cleans
houses or something. So, I didn’t… you know, once in a while I would see ‘em
and just wave to them.
BLUBAUGH: His mom, um, you said she cleans houses. Do you know who she… she
does it personally for people or her own business?
HUMES:    Yeah, yeah. She just cleans houses.
BLUBAUGH: But it’s not a specific business she works for.
HUMES: No, no. Uh-uh. I mean, she doesn’t… I don’t think it’s like a full
time thing she does, you know… I don’t know their business but, you know, just
from talking to Bryan.
BLUBAUGH: Alright, I’m gonna back up again a little bit and I’m gonna say, um,
clarify some things. So, I’m gonna go back to say February 9 th , was the first
time that I’m seeing that you pawned and that was to Starlight. It was tools.
It was Bosch tools; safe to say that that item was stolen; right?
HUMES:    Yes.
BLUBAUGH: Safe to say that every single time you sold to a pawn shop that those
items were stolen.
HUMES:    Except for that chain saw.
BLUBAUGH: Except for the one chain saw. But every other time that you went
there with tools it was stolen.
HUMES:    Correct.
BLUBAUGH: And most of that was stolen from Home Depot or Lowe’s.
HUMES:    Correct.
BLUBAUGH: Primarily Home Depot.
HUMES:    Correct.
BLUBAUGH: And the only item that you sold to a pawn shop from Walmart that was
stolen was the gift card which was the proceeds because you returned those. Is

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that correct?
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HUMES:    Correct.
BLUBAUGH: You didn’t sell anything else from Walmart to any of the pawn shops
that you can recall?
HUMES:    No.
BLUBAUGH: Okay. But everything else was stolen that you sold to the pawn shops;
Associated Pawn Shop, Starlight Pawn Shop, and, well, Chesapeake, you said you
only went there one time. And in Baltimore County you went to a pawn shop
there, correct?
HUMES:    Oh yeah. I forgot about that one.
BLUBAUGH: Do you remember the name of that one?
HUMES: Um, I’m trying to think in the area we were at was… I can’t remember
the name of it. It was, uh, off of, uh…
BLUBAUGH: Does Liberty sound familiar?
HUMES: That’s it; Liberty Road. Yeah, that’s what I was trying to think of;
it was Liberty. That’s it.
BLUBAUGH: Okay. So everything that you sold to Liberty Loan on Liberty Road in
Gwynn Oak, Maryland…
HUMES:    Correct.
BLUBAUGH: Was also stolen.
HUMES:    Correct.
BLUBAUGH: Now, and I think I asked you this before but, with Associated, you
sold the majority of your items to Associated. Is there any reason, particular
that you went to Associated or that you liked them over dealing with the guys?
There’s an older woman who works there, did you just prefer dealing with her?
HUMES: I… I mean, it was just… I just went there. I mean Associated and
Starlight, that’s the two I dealt with.
BLUBAUGH: It just didn’t matter to you.
HUMES:    Yeah, I mean…
BLUBAUGH: I didn’t know if maybe because, you know…
HUMES:    No, no…
BLUBAUGH: The owner there, Charlotte, she… or the one worker, she’s a little
bit older I thought maybe you felt comfortable with her because, you know, she
might be a little closer in age to you so…
HUMES: I… you know, it might be to that effect; I just felt more comfortable
there or whatever. Uh, they’re nice people and, uh, I felt bad, you know, I
wanted to call them and apologize if I caused them any…
BLUBAUGH: Um hm.
HUMES: Trouble but I thought I better leave well enough alone ‘til after I
talk to you. I thought I’d talk to you about that and…
BLUBAUGH: Yeah, normal… most times I would say it’s probably best to leave that
alone.
HUMES:    Yeah.
BLUBAUGH: And, you know, I can’t…
HUMES: Well, that’s what I thought. I said, you know, if I’m gonna go down
there and be with them I better to him and see what they want to do.
BLUBAUGH: Okay. If you give me a minute, I need to step out for a few minutes
and, um, I’ll be right back. Okay?
HUMES:    Is there any way I could get something to drink?
BLUBAUGH: Sure, would water be okay?

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HUMES:    Fine.
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BLUBAUGH: Alright, when I come back in I’ll grab you a bottle of water.
HUMES:    I’d appreciate that.
BLUBAUGH: Um, its 10:40 and I’m going to pause this for now.
HUMES:    (Crying) I’m in a pretty big hole.
BLUBAUGH: Okay, it’s now 10:43 and we’re going to resume the interview. This is
Cpl. Blubaugh and Mr. Humes. Um, just a couple things I want to clarify with
you and… now what I’m gonna show you, this here’s the, the back end of a report
from Lowe’s loss prevention. Okay? And on here there’s two photos that I’m
gonna show you. They’re kinda small, um; the main person that I want you to
look at is on the left here. Who would you say that is?
HUMES:    Bryan Schneider.
BLUBAUGH: And this, that looks like that’s, that’s you there. I mean, I know
you can’t see here; I have it on computer but…
HUMES:    Yeah, yeah.
BLUBAUGH: The main thing that I want to get at, this person that you know, and
that’s Bryan.
HUMES:    Yeah.
BLUBAUGH: Okay. Now I’m gonna show you another photo and you tell me who you
know this person to be.
HUMES:    Bryan Schneider.
BLUBAUGH: That’s Bryan Schneider? And this is the person that you, that
introduced you to heroin and that you did all these thefts from Home Depot and
Lowe’s and Walmart?
HUMES:    Yes.
BLUBAUGH: Are there any stores that we’re missing? That we need to talk to that
may be victims?
HUMES:    No. Not that I can remember at this time.
BLUBAUGH: Okay.
HUMES:    I really don’t think there is.
BLUBAUGH: Now, there’s a couple recent transactions that you’ve had that I
would like to clarify. And, also I did not discuss, um, there’s a couple other
pawn shops that you went to but you only went to them one other time in Harford
County. That was Clark Loan and Jewelry up in, um, Aberdeen on Route 40.
HUMES:    Oh, yeah. I do remember that.
BLUBAUGH: And the items that you sold to them were stolen?
HUMES:    Yes.
BLUBAUGH: And then you sold one item to J&K and Associates which is in Havre de
Grace; little bit further up on 40. You sold to them a, um, a Ridgid air
compressor; new in the box.
HUMES:    Yeah.
BLUBAUGH: So you would say that was stolen?
HUMES:    Yeah.
BLUBAUGH: And then the, the gift card you had, that was almost $500. You guys
got a pretty good…
HUMES:    That was Walmart.
BLUBAUGH: Pretty good amount of stuff from Walmart then.
HUMES:    It was a, a rather large tent.
BLUBAUGH: A tent?
HUMES: Uh huh. And other camping equipment but the tent was the most

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expensive.
BLUBAUGH: Okay. And which Walmart was that taken from? Do you remember; in
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BLUBAUGH: Okay. And which Walmart was that taken from? Do you remember; in
Harford County?
HUMES: I think it’s the one down, you go down, what is that… down there
where Lowe’s is I think.
BLUBAUGH: Okay.
HUMES:    Is that, is that the one…
BLUBAUGH: In Abingdon where they have that new intersection that’s kind of
confusing at first?
HUMES:    Yeah.
BLUBAUGH: Alright. Now, fairly recently, on, um, ah, it’s not recent but its
June 23 rd you sold a bracelet to BelAir Gold and Coin. You only got $4 for it.
Remember where that came from? It had… it was a little bracelet, it had a, uh,
heart on it.
HUMES:    I don’t remember that.
BLUBAUGH: And then, just a couple days ago you sold a bracelet to, uh… in
Baltimore, to Maryland National Jewelry and Loan.
HUMES:    Oh, that was mine.
BLUBAUGH: That was your bracelet?
HUMES:    Yeah. That was a gold bracelet, yeah.
BLUBAUGH: But the one back in June you don’t remember that one that had the
heart on it? Maybe Brian gave it to you or it you got it from…
HUMES:    Yeah, that could have been.
BLUBAUGH: You don’t remember that one?
HUMES:    No.
BLUBAUGH: Okay. Now with everything that we’ve discussed this morning, is there
anything else that you feel that you need to discuss with me? I mean, we’re
here now…
HUMES:    Right.
BLUBAUGH: And it’s better to put this behind you now and maybe you can start on
your sobriety and move forward.
HUMES:    Yeah. I’m starting as soon as I get out of here. I’m calling…
BLUBAUGH: And I’ll tell you, from what I have seen, it’s best if you go into
some type of inpatient facility…
HUMES:    Yeah.
BLUBAUGH: For long term. Not just a month, two months… you need to go for a
little while.
HUMES:    I agree. Yeah, I talked to a counselor already about it.
BLUBAUGH: Okay.
HUMES:    And they… we all agree it’s got to be long term thing.
BLUBAUGH: And you do know that, this isn’t gonna go away. This isn’t… this is
gonna come back, okay? That… because you did commit a theft; you committed a
lot of thefts. I mean…
HUMES:    I know; that’s what I just said.
BLUBAUGH: In one month’s time I have probably close to $20,000 worth of stuff
that was stolen; in just one month. So, there will be charges that will be
coming… I mean, you’re free to leave today but there will be charges eventually
that come out, okay? Just so you’re aware.
HUMES:    (Crying) I know.
BLUBAUGH: And are you still getting around in your white Blazer?

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HUMES:    Sort of.
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BLUBAUGH: Sort of?
HUMES:    It’s breaking down, yeah.
BLUBAUGH: And so, while we’re on this, is there anything that you want to
discuss with me now; anything that you feel you need to get out there?
HUMES: Just, I’m, this isn’t me. I mean, I’ve never had any trouble, you
know, with the law or anything like that and I’m sorely embarrassed of… I can’t
believe I’m in this situation. And I’m… I do regret it. I really do. I wish,
you know if I could make it go away but, I know it’s not. I know there’s
consequences and I’m afraid of them I really am.
BLUBAUGH: Have you been arrested… have you ever been arrested before?
HUMES:    No.
BLUBAUGH: Not even for…
HUMES:    Nothing.
BLUBAUGH: Nothing.
HUMES:    Nothing.
BLUBAUGH: Not even when you were a kid?
HUMES:    Nope.
BLUBAUGH: Speeding tickets?
HUMES:    I’ve gotten a speeding ticket but not arrested.
BLUBAUGH: Never… no DUI’s?
HUMES:    No, no.
BLUBAUGH: Well, I wish you the best of luck. I hope you get clean and sober and
you start putting this behind you and, um, start disassociating yourself with
Mr. Schneider.
HUMES:    Yep.
BLUBAUGH: Cause he’s obviously no good. He’s the one that got you into this
mess.
HUMES:    Yeah.
BLUBAUGH: And, um…
HUMES:    I got this… I want to help somebody type thing, but yet, I…
BLUBAUGH: Well, maybe one time you can turn around and give back. Maybe…
HUMES:    I was at one time; I was a leader in a Celebrate Recovery group.
BLUBAUGH: Um hm. And how did you get to that point? I mean how were you
involved with Celebrate?
HUMES: My church, that I was attending, and, uh, you know, I fought
addiction most of my life and…
BLUBAUGH: What was the addiction?
HUMES:    I had alcohol.
BLUBAUGH: Alcohol?
HUMES: When I was young; I quit when I was 31. That was a pretty bad
withdrawal to go through. Back in them days they didn’t help you very much. You
know, they just put you in a room and you sort of went through it. You know.
BLUBAUGH: Well, heroin can be worse.
HUMES:    Oh, I’ve been cold turkey.
BLUBAUGH: Mm. You need to stick with your faith and…
HUMES: And, uh… but this, you know, I was told I shouldn’t come here I
should just get a lawyer and all that stuff and sitting here thinking, you
know, I really dug a hole for myself but I told the truth so…
BLUBAUGH: And that’s all that could be expected.

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HUMES:    That means more to me than anything I guess.
BLUBAUGH: Well I’m glad it does cause it shows your character and shows the
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BLUBAUGH: Well I’m glad it does cause it shows your character and shows the
type of person you are. And I’m sure in the long run that’ll show.
HUMES:    I hope.
BLUBAUGH: And, you know… okay, well I’m gonna end this here, okay?
HUMES:    Okay.
BLUBAUGH: Um, if you have anything else later on or if you need help with
something or you have problems with Bryan hounding you, coming after you, let
me know. Give me a call.
HUMES:    Okay.
BLUBAUGH: Okay; alright. The time is now 10:52 and we’re concluding this
interview.

Supplement submitted on August 11th, 2015.




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